Case 2:23-mjJ-08137-JSA Document3_ Filed 11/09/23 Page 1 of 1 PagelD: 13

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon. Jessica S, Allen
v. Mag. No. 23-8137
DANIEL DADOUN : SEALING ORDER

This matter having been brought before the Court upon application of Philip
R. Sellinger, the United States Attorney for the District of New Jersey (Katherine
M. Romano, Assistant U.S. Attorney, appearing), for an order sealing the Complaint
and Arrest Warrant issued on this date against Defendant Daniel Dadoun, and for
good cause shown,

IT IS on this Glee day of November, 2023,

ORDERED that, except for such copies of the Arrest Warrant as necessary to
accomplish its purpose, the Complaint, Arrest Warrant, and this Order are
SEALED until the Arrest Warrant is executed or until further order of the Court,
and it is further

ORDERED that, once the Arrest Warrant is executed, the Complaint, Arrest
Warrant, and this Order are unsealed.

Gat a ok pce AY.

HON. JESSICAA’ ALLEN
U.S. MAGISTRATE JUDGE

